Case 3:22-cv-00174-MMH-PDB Document 106 Filed 08/30/23 Page 1 of 4 PageID 2541




                           United States District Court
                            Middle District of Florida
                              Jacksonville Division

 VANESSA TREMINIO,

       Plaintiff,

 v.                                                  NO. 3:22-cv-174-MMH-PDB

 CROWLEY MARITIME CORPORATION
 & JUAN EMILIO BLANCO,

       Defendants.


                                      Order

       In this order, the Court decides three discovery motions. First, the Court
 decides a motion by Vanessa Treminio, Doc. 79 (motion), Docs. 79-1 to 79-6
 (motion exhibits), Doc. 81 (supplement), Doc. 83 (response), Docs. 83-1, 83-2
 (response exhibits). Second, the Court decides a motion by Crowley Maritime
 Corporation, Doc. 66 (motion), Docs. 66-1 to 66-9 (motion exhibits), Doc. 72
 (response), Doc. 84 (reply), Docs. 84-1 to 84-3 (reply exhibits), Doc. 96 (endorsed
 order), S-Docs. 100-1, 100-2 (sealed transcripts). And third, the Court decides
 another motion by Crowley, Doc. 76 (motion), Docs. 76-1 to 76-3 (motion
 exhibits), Doc. 82 (response), Doc. 82-1 (response exhibit). Background about
 the lawsuit is in the order entered on January 5, 2023. Doc. 34.

       Since the motions were filed, Treminio has moved to exclude Crowley’s
 expert, Doc. 92 (motion), Doc. 101 (response); Crowley and Juan Emilio Blanco
 have moved to exclude Treminio’s expert, Doc. 87 (Crowley’s motion), Doc. 91
 (Blanco’s motion), Doc. 102 (response), and for summary judgment, Doc. 88
 (Crowley’s motion), Doc. 90 (Blanco’s motion), Docs. 103, 104 (responses); and
Case 3:22-cv-00174-MMH-PDB Document 106 Filed 08/30/23 Page 2 of 4 PageID 2542




 Crowley has moved for sanctions against Treminio, Doc. 105. No one contends
 additional discovery is necessary to complete a motion or response. The motion
 for sanctions, Doc. 105, concerns withheld discovery—the transcript of the
 “Examination Under Oath of Luis Santamaria,” S-Doc. 100-2; Doc. 103-5—that
 is the subject of one of Crowley’s motions to compel, Doc. 66. The Court does
 not address the motion for sanctions in this order.

       The Court has carefully considered the discovery motions and related
 papers. Applying Federal Rules of Civil Procedure 1, 26, 33, 34, and 37, and
 considering the customary practice detailed in the Discovery Handbook, the
 motions are granted or denied as follows for the reasons argued.

       1.   Treminio must produce all communications between herself
            and any non-party responsive to requests 16 and 17 of
            Crowley’s first request for production.

       2.   Treminio must produce all communications between her
            counsel and any non-party responsive to requests 16 and 17 of
            Crowley’s first request for production.


       3.   Treminio must produce all documents responsive to requests
            21, 22, and 23 of Crowley’s expert request for production, as
            limited by Crowley, see Doc. 66 at 14, including any
            assumptions her counsel provided on which the expert relied.


       4.   Treminio must produce the complete record of her treatment
            with Dr. Patricia Rivas, including medical records, invoices,
            and payments. These documents are considered records
            within her control under Rule 34(a)(1).

       5.   Treminio must provide records of her visit with Dr. Ana
            Cecilia Vazquez de Pastore and Laboratorio Max Block or
            explain in writing why she cannot provide them despite best
                                       2
Case 3:22-cv-00174-MMH-PDB Document 106 Filed 08/30/23 Page 3 of 4 PageID 2543




            efforts to obtain them. These documents are considered
            records within her control under Rule 34(a)(1).


       6.   Treminio must produce all documents responsive to requests
            2, 3, and 6 of Crowley’s second request for production that she
            has withheld—without a privilege log—on the basis of work-
            product protection.


       7.   Treminio must produce documents responsive to request 5 of
            Crowley’s second request for production. Belatedly providing
            instructions did not render the request untimely.


       8.   Treminio must produce a privilege log of all pre-litigation
            communications between her and her counsel responsive to
            requests 25, 28, 31, 32, 33, 34, and 35 of Crowley’s first request
            for production. Although parties rarely insist on a log
            describing communications with counsel, Treminio had
            insisted on such a log, setting the standard in this action. See
            Doc. 66-2 at 3. Exercising its broad discretion and guided by a
            sense of reasonableness, the Court declines to find waiver
            requiring full disclosure of all privileged pre-litigation
            communications with counsel.


       9.   Treminio must produce the transcript of the “Examination
            Under Oath of Blanca Hernandez,” S-Doc. 100-1. Regardless
            of whether the transcript generally is protected under Rule
            26(b)(3)(A), Crowley shows production of the transcript is
            warranted because the transcript is otherwise discoverable,
            Crowley has substantial need for the transcript to prepare its
            case, and Crowley could not have obtained a substantial
            equivalent by other means. The argument that the transcript
            reveals mental impressions, conclusions, opinions, or legal
            theories of Treminio’s lawyer is unpersuasive, including
            because the questions asked during the examination are akin
            to those asked in the transcript of the “Examination Under


                                         3
Case 3:22-cv-00174-MMH-PDB Document 106 Filed 08/30/23 Page 4 of 4 PageID 2544




           Oath of Luis Santamaria,” S-Doc. 100-2, that Treminio has
           filed on the public docket, Doc. 103-5.


       10. Because the transcript of Santamaria’s examination is on the
           public docket, Doc. 103-5, the motion to compel production of
           the transcript is moot. The transcript, Doc. 103-5, is identical
           to the sealed transcript, S-Doc. 100-2.


       11. No additional discovery is warranted for one or more of these
           reasons: the objections were sufficiently specific, the discovery
           now demanded is not responsive to the discovery requested,
           the discovery has been provided, the discovery is not relevant
           to the claims and defenses, the discovery is disproportionate
           to the needs of the case considering the factors in Rule
           26(b)(1), and the discovery is otherwise unduly burdensome.


       12. Treminio must show cause why expenses incurred in having
           to move to compel the discovery described in numbered
           paragraphs 1 to 6 immediately above should not be allowed.
           The parties’ respective positions otherwise are substantially
           justified.

       To the extent she has not already done so, by September 15, 2023,
 Treminio must produce the discovery described or state in writing no
 responsive documents exist. By the same day, she must respond to the order
 to show cause.

       Ordered in Jacksonville, Florida, on August 30, 2023.




                                        4
